Case 2:97-cr-20120-.]PI\/| Document 39 Filed 07/22/05 Page 1 of 2 Page|D 48

F“-ED BV`A/..Qo.c.

IN THE UNITED STA'I'ES DISTRICT C.‘OURT

 

FOR THE wESTERN DISTRICT oF TENNESSE n
wEsTERN DIvISIoN 55 JUL 22 PH“|= 57
UNITED sTATEs OF AMERICA a%%§“{§g;g-%§W
' ' 1 z .¢fw

Plaintiff,

V.

NAVJL‘E:UN F@"§’F

2_0[2_€9
Criminal No. - Ml

(SO-Day Continuance)

 

 

 

-_,-_/\._/\._¢~._¢-._r-_/\._r\_r\._¢\~_.¢-._rvvv

Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridavl SeDtember 23, 2005, at
10:30 a.m.

SO ORDERED this 22nd day of July, 2005.

MCCQQ

JON P PPS MCCALLA
UNIT STATES DIS'I`RICT JUDGE

 

/}W…Q. I/%/)»~'

g§sistagp'United States Attorney

This document entered on the docket sheet c.c:?p|iance
with mile 55 ami/or 32('0) wach on Z~ §§ §

    

 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNEssEE

   

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:97-CR-20120 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

